Case 3:25-cv-00339-MMA-BLM   Document 1-3   Filed 02/14/25   PageID.16   Page 1
                                   of 52




                                Exhibit 1
                                Exhibit 1
Case 3:25-cv-00339-MMA-BLM           Document 1-3        Filed 02/14/25     PageID.17   Page 2
                                           of 52

                                                                ELECTRONICALLY FILED
   11                     [CSB No. 274608]
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   2                                                            County of San Diego
                                                                County         Diego
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        Ryan            [CSB No. 324538]
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        SULLIVAN & YAECKEL LAW GROUP, APC                        Clerk of the Superior
                                                                              Superior Court
   4    2330 Third Avenue
        2330                                                     By                    ,Deputy
                                                                 By M.  Acevedo        ,Deputy Clerk
        San Diego,
            Diego, California 92101
                              92101
   55
        (619)
        (619) 702-6760
              702-6760 ** (619) 702-6761 FAX
                          (619) 702-6761 FAX
   6
                                 DARKO BOGAVAC,
        Attorneys for Plaintiff DARK()
        Attomeys                           BOGAVAC, an Individual on behalf of himself and all others
   7    similarly
        similarly situated and the general public
                                   general public

   8

   9                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                           THE STATE
  10
  10                                      COUNTY OF SAN DIEGO

  11
  11                                                     CASE NO.:        24CU018405C
                   BOGAVAGC, an Individual on
        DARKO BOGAVAC,                               )
  12
  12
        behalf of himself and all others similarly
                                         similarly
        situated and the general public,
                         general public,             )   (Proposed
                                                         (Proposed CLASS ACTION)
                                                                         ACTION)
  13
  13                                                 )
                       Plaintiffs,                   )   CLASS ACTION COMPLAINT FOR:
                                                         CLASS
  14
  14
                                                     )
        v.                                               1.
                                                         1.    VIOLATION OF CALIFORNIA
  15
  15
                                                     )         BUSINESS & PROFESSIONS CODE
  16
  16    EL POLLO LOCO, INC. a Corporation
        EL                         Corporation                 §17500, et seq.,
                                                               §17500,    seq., and
        with its principal   place business in
                   principal place                   )
  17
  17    California, and DOES 1-100, inclusive,           2.    VIOLATION OF CALIFORNIA
                                                     )         BUSINESS & PROFESSIONS CODE
  18
  18
                       Defendants                              §17200,
                                                               §17200, et seq.
                                                                          seq.
  19
  19                                                 )

  20
  20

  21
  21

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  24

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  27
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  28
Case 3:25-cv-00339-MMA-BLM              Document 1-3         Filed 02/14/25       PageID.18        Page 3
                                              of 52


   11          COMES
               COMES NOW
                     NOW Plaintiff,
                         Plaintiff, DARKO
                                    DARKO BOGAVAC, ("Plaintiff,")
                                          BOGAVAC, ("Plaintiff,") an
                                                                  an Individual
                                                                     Individual on
                                                                                on behalf
                                                                                   behalf of
                                                                                          of
   22
        himself
        himself and
                and all
                    all others
                        others similarly
                               similarly situated
                                         situated and
                                                  and the
                                                       the general
                                                           general public,
                                                                   public, and
                                                                           and hereby
                                                                               hereby alleges
                                                                                      alleges as
                                                                                              as follows:
                                                                                                 follows:
   33
               Plaintiff
               Plaintiff brings
                         brings this
                                this action
                                     action on
                                            on behalf
                                               behalf of
                                                      of himself,
                                                         himself, and
                                                                  and all
                                                                      all others
                                                                          others similarly
                                                                                 similarly situated,
                                                                                           situated, against
                                                                                                     against
   44
        Defendant,
        Defendant, EL
                   EL POLLO
                      POLLO LOCO,
                            LOCO, INC.,
                                  INC., (hereinafter,
                                        (hereinafter,"Defendant,"
                                                      "Defendant,"or
                                                                  or "EPL").
                                                                     "EPL"). The
                                                                             The allegations
                                                                                 allegations in
                                                                                             inthis
                                                                                                this
   55

   6 Complaint,
   6 Complaint, stated
                stated on
                       on information
                          information and
                                      and belief,
                                          belief, have
                                                  have evidentiary
                                                       evidentiary support,
                                                                   support, or
                                                                            or are
                                                                               are likely
                                                                                   likely to
                                                                                          to have
                                                                                             have

   77 evidentiary
      evidentiary support
                  support after
                          after aa reasonable
                                   reasonable opportunity
                                              opportunity for
                                                          for further
                                                              further investigation
                                                                      investigation and
                                                                                    and discovery.
                                                                                        discovery.
   8
   8                                      NATURE
                                          NATURE OF
                                                 OF THE
                                                    THE ACTION
                                                        ACTION
   99
                1.
                1.      Plaintiff files
                                  files this
                                        this class
                                             class action
                                                   action lawsuit
                                                          lawsuit on
                                                                  on behalf of himself
                                                                               himselfand
                                                                                       and all
                                                                                           all similarly
                                                                                               similarly situated
  10
  10
        California citizens,
                   citizens, who
                             who purchased
                                 purchased EPL
                                           EPL products
                                               products in
                                                        in the
                                                           the State
                                                               State of California that are
                                                                                        are branded,
                                                                                            branded,
  11
  11

  12    manufactured,
        manufactured, distributed,
                      distributed, marketed
                                   marketed and/or sold
                                                   sold by
                                                        by EPL.
                                                           EPL.
  12

  13
  13           2.
               2.      This
                       This matter involves
                                   involves false,
                                            false, deceptive
                                                   deceptive and/or misleading
                                                                    misleadingrepresentations,
                                                                               representations, by EPL,
                                                                                                   EPL, that

  14
  14    its
        its packaging/labeling is
                               is "recyclable."
                                  "recyclable." Plaintiff viewed the
                                                                 the subject mis-representations
                                                                             mis-representations prior to
                                                                                                       to his
                                                                                                          his
  15
  15
        purchase of said products,
                         products, and relied on said mis-representations
                                                      mis-representations when purchasing
                                                                               purchasing said products.
                                                                                               products.
  16
  16
               3.      The EPL representations
                               representations that its packaging/labeling is "recyclable"
                                                                              "recyclable" are false,
                                                                                               false,
  17
  17
        deceptive and/or misleading,
                         misleading, pursuant to the plain and common definitions
                                                                      definitions of the terms.
                                                                                         terms.
  18
  18

  19
  19           4.
               4.      EPL is,
                           is, or reasonably should be,
                                                    be, aware that its statements are false
                                                                                      false and/or

  20
  20    misleading, as its packaging/labeling does not meet the criteria for statewide recyclability.
                                                                                       recyclability. EPL is
  21
  21    aware that the recyclability claims, as used by EPL, are and were false,
                                                                          false, deceptive and/or misleading
  22
  22
        when first disseminated by EPL.
  23
  23
                                                  THE PARTIES
  24
  24

  25
  25           5.      Plaintiff is a citizen of the State of California, and has purchased Defendant's

  26
  26    products in the County of San Diego regularly (and
                                                      (and over a period of more than three years) based

  27
  27    on his reliance (prior to purchase) on Defendant's false, deceptive and/or misleading
  28
                                                                          amotmt equal to the amount he paid
        representations, and thereby adversely altered his position in an amount

                                                           -1-
Case 3:25-cv-00339-MMA-BLM            Document 1-3         Filed 02/14/25      PageID.19       Page 4
                                            of 52


   1 for the Defendant's products. Plaintiff and the Proposed Class would not have purchased or paid
   2
       a premium for the EPL products had they known that the recycling representations were false,
   3
       deceptive and/or misleading.
   4
                 6.    Defendant EPL is registered with the Secretary of State as a corporation. Its'
   5

   6   Headquarters, and designated "principal place of business," is in the State of California.

   7             7.    The true names and capacities, whether individual, corporate, associate or otherwise
   8   of each of the defendants designated herein as a DOE are unknown to Plaintiff at this time, who
   9
       therefore sue said defendants by fictitious names, and will ask leave of this Court for permission
  10
       to amend this Complaint to show their names and capacities when the same have been ascertained.
  11

  12   Plaintiff is informed and believes and thereon alleges that each of the defendants designated as a

  13   DOE is legally responsible in some manner for the events and happenings herein referred to, and

  14   caused injuries and damages, as alleged herein.
  15
  15
                 8.    On information and belief, Plaintiff alleges that at all times herein mentioned, each
  16
       of the Defendants was acting as the agent, servant or employee of the other defendants and that
  17
       during the times and places of the incident in question, Defendant and each of their agents,
  18

  19   servants, and employees became liable to Plaintiff and class members for the reasons described in

  20   the complaint herein, and thereby proximately caused Plaintiff to sustain damages as set forth
  21
       herein.
  22
                 9.    On information and belief, Plaintiff alleges that Defendants carried out a joint
  23
       scheme with a common business plan and policies in all respects pertinent hereto and that all acts
  24

  25   and omissions herein complained of were performed in knowing cooperation with each other.

  26             10.   On information and belief, Plaintiffalleges that the shareholders, executive officers,

  27   managers, and supervisors of the Defendant directed, authorized, ratified and/or participated in the
  28
       actions, omissions and other conduct that gives rise to the claims asserted herein. Defendant's

                                                         -2-
Case 3:25-cv-00339-MMA-BLM             Document 1-3         Filed 02/14/25        PageID.20       Page 5
                                             of 52


   11   officers,
        officers, directors,
                  directors, and
                             and high-level
                                 high-level employees
                                            employees caused
                                                      caused EPL
                                                             EPL products
                                                                 products to
                                                                           to be
                                                                              be sold
                                                                                 sold with
                                                                                      with knowledge
                                                                                           knowledge or
                                                                                                     or
   22
        reckless
        reckless disregard
                 disregard that
                            that the
                                  the statements
                                      statements and
                                                 and representations
                                                     representations concerning
                                                                     concerning the
                                                                                 the EPL
                                                                                     EPL products
                                                                                         products were
                                                                                                  were false
                                                                                                       false
   33
        and
        and misleading.
            misleading.
   44
                11.
                11.    Plaintiff
                       Plaintiffisis informed
                                     informedand
                                              and believes,
                                                  believes,and
                                                            andthereon
                                                               thereonalleges,
                                                                       alleges,that
                                                                               thatthe
                                                                                    the Defendant
                                                                                        Defendant is
                                                                                                   is in
                                                                                                      in some
                                                                                                         some
   55

   66   manner
        manner intentionally,
               intentionally, negligently,
                              negligently, or
                                           or otherwise
                                              otherwise responsible
                                                        responsible for
                                                                    for the
                                                                        the acts,
                                                                            acts, omissions,
                                                                                  omissions, occurrences,
                                                                                             occurrences,

   77   and
        and transactions
            transactions alleged
                         alleged herein.
                                 herein.
   88                                   JURISDICTION
                                        JURISDICTION AND
                                                     AND VENUE
                                                         VENUE
   99
                12.
                12.    This
                       This Court
                            Court has
                                  has jurisdiction
                                      jurisdiction over
                                                   over this
                                                        this matter
                                                             matter in
                                                                    in that
                                                                       that all
                                                                            all parties
                                                                                parties are
                                                                                        are citizens
                                                                                            citizens of,
                                                                                                     of, or
                                                                                                         or do
                                                                                                            do
  10
        business
        business and
                 and have
                     have Headquarters
                          Headquarters within,
                                       within, the
                                               the State
                                                   State of California and
                                                                       and the
                                                                           the amount in
                                                                                      in controversy
                                                                                         controversy
  11
  11
        exceeds
        exceeds the
                the statutory
                    statutory minimum limit of this
                                               this Court.
                                                    Court. The
                                                           The monetary
                                                               monetary damages
                                                                        damages and
                                                                                and restitution
                                                                                    restitution sought
  12

  13
  13    by Plaintiff exceed the
                            the minimal jurisdiction
                                        jurisdiction limits
                                                     limits of the
                                                               the Superior Court and will be
                                                                                           be established

  14    according
        according to
                  to proof at trial.
                              trial. Furthermore,
                                     Furthermore, there
                                                  there is
                                                        is no
                                                           no federal
                                                              federal question at issue as
                                                                                        as the
                                                                                           the operative
  15
  15
        allegations
        allegations all solely involve state (and not federal)
                                                      federal) law.
                                                               law.
  16
                13.    Plaintiff is
                                 is a citizen of the
                                                 the State of California and subject to
                                                                                     to the personal jurisdiction
  17
        of this
           this Superior Court.
                         Court. Further, Plaintiff purchased the majority of the EPL goods within San Diego
  18

  19    County.
        County. Defendant's Headquarters is in the State of California, and because Defendant conducts

  20    business in San Diego County, California and otherwise intentionally avail themselves of the
  21
  21    markets in San Diego County, the exercise of jurisdiction by this Court is proper.
  22
                                           FACTUAL BACKGROUND
  23
  23
               14.     Plaintiff has purchased EPL's goods/products (including plastic drink containers,
  24

  25    plastic packaging, and plastic bags) regularly (and
                                                       (and over a period of more than three years) based

  26    on his reliance (prior to purchase) on said false, deceptive and/or misleading representations, and

  27    thereby adversely altered his position in an amount equal to the amount he paid for the Defendant's
  28
                                                                                  (or would not have
        goods/products. Plaintiff and the Proposed Class would not have purchased (or

                                                          -3-
Case 3:25-cv-00339-MMA-BLM             Document 1-3        Filed 02/14/25      PageID.21       Page 6
                                             of 52


   11   paid
        paid aa premium
                premium for)
                        for) the
                              the EPL
                                  EPL products
                                      products had
                                               had they
                                                    they known
                                                         known that
                                                                that the
                                                                      the recyclability
                                                                          recyclability claims
                                                                                        claims were
                                                                                               were false,
                                                                                                    false,
   22
        deceptive
        deceptive and/or
                  and/or misleading.
                         misleading.
   33
               15.
               15.      As
                        Asmore
                           more specifically
                                specificallyset
                                             set forth
                                                 forth below,
                                                       below, EPL
                                                              EPLrecycling
                                                                  recycling claims
                                                                            claimsare
                                                                                   are widely
                                                                                       widelydisseminated
                                                                                              disseminated
   44
        on
        on the
           the EPL
               EPL packaging/labeling
                   packaging/labeling and/or
                                      and/or website,
                                             website, and/or
                                                      and/or through
                                                             through other
                                                                     other written
                                                                           written and
                                                                                   and internet
                                                                                       internet
   55

   66   publications.
        publications.

   77          16.
               16.      At
                        At all
                           all relevant
                               relevant times,
                                        times, Plaintiff
                                               Plaintiffbelieved
                                                         believed that
                                                                  that he
                                                                       he was
                                                                          was purchasing
                                                                              purchasing EPL
                                                                                         EPL goods
                                                                                             goodsthat
                                                                                                   that were
                                                                                                        were
   8    packaged
        packaged in
                 in recyclable
                    recyclable materials,
                               materials, based
                                          based on
                                                on his
                                                   his reliance
                                                       reliance on
                                                                on Defendants
                                                                   Defendants representations.
                                                                              representations. Plaintiff
                                                                                               Plaintiff
   99
        would
        would not
              not have
                  have continued
                       continued to
                                 to purchase
                                    purchase the
                                             the products,
                                                 products, or
                                                           or would
                                                              would have
                                                                    have purchased
                                                                         purchased them
                                                                                   them but
                                                                                        but at
                                                                                            at aa lesser
                                                                                                  lesser
  10
        price,
        price, absent the
                      the misleading
                          misleading statements
                                     statements and
                                                and misrepresentations
                                                    misrepresentations made
                                                                       made by
                                                                            by EPL.
                                                                               EPL. Please
                                                                                    Please see
                                                                                           see specific
                                                                                               specific
  11
  11
        examples
        examples of Defendant's
                    Defendant's false,
                                false, untrue
                                       untrue and
                                              and misleading
                                                  misleading representations,
                                                             representations, below.
                                                                              below.
  12

  13
  13                                           The
                                               The Recycling
                                                   Recycling Claims
                                                             Claims

  14           17.
               17.      Defendant advertises
                                  advertises that many
                                                  many of its
                                                          its products
                                                              products are
                                                                       are "recyclable,"
                                                                           "recyclable," by and through a
  15
  15
        variety of ways,
                   ways, including
                         including the
                                   the use
                                       use of the
                                              the "chasing arrows"
                                                           arrows" symbol on its
                                                                             its labeling/packaging.
                                                                                 labeling/packaging. For
  16
        example, many of Defendant's "to go,"
                                         go," or "takeaway,"
                                                 "takeaway," packaging (including both the exterior
  17
        packaging and the overlaying "film"), plastic cups, plastic lids,
                                                                    lids, plastic plates, plastic trays,
                                                                                                  trays, and
  18

  19    plastic bags, contain a "chasing arrows"
                                         arrows" symbol.
                                                 symbol. (Please see Exhibits A-D).
                                                                              A-D). Plaintiffs
                                                                                    Plaintiff's purchases

  20    from Defendant (including plastic drink containers, plastic packaging, and plastic bags) contained
  21
  21
        these represented symbols.
  22
               18.      The "chasing arrows symbol"
                                            symbol" (first introduced in 1970) is statutorily defined to
  23
  23
        mean than an item is recyclable. Under California law, an item may not be labeled recyclable unless
  24

  25    60 percent of consumers or communities have access to a recycling facility that accepts it. Many

  26    of Defendant's "to go," or "takeaway," packaging (including both the exterior packaging and the
  27    overlaying "film"), and drink containers are single-use plastics which contain a "chasing arrows
  28
        symbol."

                                                         -4-
Case 3:25-cv-00339-MMA-BLM               Document 1-3         Filed 02/14/25        PageID.22        Page 7
                                               of 52


   1            19.
                19.     Single-use
                        Single-use plastics
                                   plasticsare
                                            aretypically
                                                typicallyused
                                                         usedonce,
                                                              once,or
                                                                   orfor
                                                                      foraashort
                                                                           shortperiod
                                                                                 periodof
                                                                                       oftime,
                                                                                          time,and
                                                                                               andare
                                                                                                   arethen
                                                                                                       then

   22   thrown
         thrown away.
                away. Single-use
                      Single-use plastics
                                 plastics include
                                           include take-out
                                                    take-out containers,
                                                             containers, straws,
                                                                         straws, utensils,
                                                                                 utensils, cups,
                                                                                           cups, and
                                                                                                 and lids.
                                                                                                      lids.
   33
        Single-use
        Single-use plastics
                   plastics represent
                            represent the
                                       the largest
                                            largest plastic
                                                    plastic waste
                                                            waste that
                                                                  that escapes,
                                                                       escapes, or
                                                                                or is
                                                                                    is released,
                                                                                       released, into
                                                                                                 into the
                                                                                                      the
   44
        environment
        environment and
                    and are
                        are among
                            amongthe
                                  the most
                                      most commonly
                                           commonly and
                                                    and consistently
                                                        consistentlypicked
                                                                     picked up
                                                                            up on
                                                                               on California
                                                                                  California beaches
                                                                                             beaches
   55
        and
        and riverbanks.
            riverbanks. Several
                        Several recent
                                recent reports
                                       reports have
                                               have detailed
                                                    detailed that
                                                             that the
                                                                  the plastics
                                                                      plastics industry
                                                                               industry has
                                                                                        has been
                                                                                            been aware
                                                                                                 aware since
                                                                                                       since
   66

   77   the
        the early
            early 1970s
                  1970s that
                        that recycling
                             recycling is
                                       is not,
                                          not, and
                                               and never
                                                   never will
                                                         will be,
                                                              be, aa feasible
                                                                     feasible solution
                                                                              solution to
                                                                                       to the
                                                                                          the plastic
                                                                                              plastic waste
                                                                                                      waste crisis.
                                                                                                            crisis.

   8    Further,
        Further, single-use
                 single-use plastics
                            plastics were
                                     were identified
                                          identified as
                                                     as the
                                                        the cause
                                                            cause of
                                                                  of the
                                                                     the plastic
                                                                         plastic waste
                                                                                 waste and
                                                                                       and pollution
                                                                                           pollution crisis.
                                                                                                     crisis. In
                                                                                                             In
   99   2020,
        2020, Lew
              Lew Freeman,
                  Freeman, former
                           former vice
                                  vice present
                                       present of the
                                                  the Society
                                                      Society of the
                                                                 the Plastics
                                                                     Plastics Industry
                                                                              Industry admitted,
                                                                                       admitted, "There
                                                                                                 "There
  10
        was
        was never an
                  an enthusiastic
                     enthusiastic belief that recycling
                                              recycling was
                                                        was ultimately
                                                            ultimately going
                                                                       going to
                                                                             to work
                                                                                work in
                                                                                     in aa significant way."
                                                                                                       way."
  11
  11
                20.
                20.     The
                        The national
                            national recycling
                                     recycling rate
                                               rate in
                                                    in the
                                                       the U.S.
                                                           U.S. has
                                                                has never been
                                                                          been higher than
                                                                                      than 9 percent.
                                                                                             percent. Less
                                                                                                      Less
  12
        than
        than 10 percent of all
                           all plastic
                               plastic ever produced has
                                                     has been recycled.
                                                              recycled. As
                                                                        As aa result
                                                                              result of China's
                                                                                        China's National
  13
  13

  14    Sword Policy announced in 2018,
                                  2018, the
                                        the recycling
                                            recycling rate
                                                      rate has
                                                           has declined.
                                                               declined. In 2022,
                                                                            2022, The Department of

  15
  15    Energy reported the
                        the US
                            US national recycling
                                        recycling rate
                                                  rate had fallen to
                                                                  to 5 percent.
                                                                       percent.
  16
                21.
                21.     In order for
                                 for a plastic
                                       plastic item to
                                                    to be recycled,
                                                          recycled, it first must be accepted by a Material
  17
        Recovery Facility (MRF).
                          (MRF). Once collected, the plastic must then be sorted and processed.
                                                                                     processed. The
  18
        plastic is meant to be washed,
                               washed, shredded or grinded,
                                                   grinded, and then melted and extruded into new pellets.
  19

  20    The pellets are then sold to manufacturers.
                                     manufacturers. A 2022 comprehensive study of California's recycling

  21
  21    facilities
        facilities found that only two types of plastics had a high acceptance rate by MRFs and a high to
  22    moderate processing capacity:
                            capacity: #1
                                      #1 PET Plastic Bottles and #2 HOPE
                                                                    HDPE Plastic Bottles and Jugs.
                                                                                             Jugs. The
  23
  23
        vast majority (greater than 79%) of
                                         ofMRFs
                                            MRFs do not accept any form of single use plastics. (See Table
  24
        "Summary: Plastic Item Recyclability in California," and Figure "California: Survey of Single Use
  25

  26    Plastic Items Acceptance in Material Recovery Facilities (MRFs)" below). Fast food packaging,

  27    such as plastic bags, plastic plates, and plastic lids, were found to be accepted by less than 10
  28    percent of California MRFs. As virgin plastics are cheaper and higher quality, the majority of


                                                            -5-
Case 3:25-cv-00339-MMA-BLM                              Document 1-3                                  Filed 02/14/25                          PageID.23                Page 8
                                                              of 52


   1   plastics are not accepted, sorted, or processed by MRFs, as (in part) the end product has little to no

   2   market value. Please see below.
   3
                                               SUMMARY: PLASTIC ITEM RECYCLABILITY IN CALIFORNIA
   4
                                                                                                                                              Recyclable in CA?
   5
                       PET #1
                           #1 Bottles                10-11
                                                     10-11 Cents/lb
                                                           cents/lb           High: 100%  Acceptance
                                                                                    100~~ .~cceptance           High: 73% Processing            YES              (i)
   6
                    HDPE P2
                         lf2 Bottles & Jugs        28-30 cents/lb Natural     High: 100% Acceptance                       42•.-; Processing
                                                                                                                Moderate: 42%                   YES
                                                                                                                                                YES              (f)
                                                     5--7 cents/lb Color

   7
                     PET #1
                         #1 Clamshells                Not Available             Low:
                                                                                Law: 19% Acceptance
                                                                                         Acceprance                  No Processing              NO
                                                                                                                                                                 @
                                                                                                                                                                 0
   8                  #2-7 Plastic Bags          Negligible:1
                                                 Negligible: 1cents/lb                   Low: 7½ MRF
                                                                                   Very Low:7%
                                                                                       Acceptance,
                                                                                       Acceptance.
                                                                                Teliebschi
                                                                                fak<!'Mek Bins
                                                                                           81M for Store
                                                                                                   "'St.oti!'
                                                                                                                  Negligible
                                                                                                                  Negligit>Ce Processing
                                                                                                                                                NO               @
                                                                                                                                                                 p

   9                                                                               □ ropotr No Longer
                                                                                   Oropuff
                                                                               Required In CA & Very Few
                                                                                    Stores Have Bins

  10                                                                                                              Negligible Processing
                           #5 Tubs
                       PP#5Tubs
                       PP                               Negative:                 Moderate: 63%                                                 NO
                                                    -2 to 1cents/lb            Acceptance es
                                                                                           as Part of
                   (Containers with lids)
                                                                                Mixed Plastics
  11                                              Mixed Plastics #3-7           Mixed Plastics its
                                                                                       Bale
                                                                                               113-7
                                                                                                  -7
                                                         Bale

  12                Polystyrene lt6
                                #6 Foam
                   Food Service Packaging
                                                      Not Available            Very Low: 9% Acceptance               No Processing              NO
                                                                                                                                                                 @
  13                     Plastic Cups
                       (typically PP#5
                                  PPll5 &
                                                       Negative:
                                                    -2 to 1 cents/lb
                                                                                 Low: 13% Acceptance              Negligible Processing         NO
                                                                                                                                                                 @
                                                  Mixed Plastics 113-7
                                                                 #3-7
  14                         PSll6)
                             PS#6)
                                                          Bale


  15                    Plastic Plates
                       (typically PP#5
                                  PPll5 &
                                                       Negative:
                                                       N•gative:
                                                    -2 to 1 cents/lb
                                                                              Very Low: 7% Acceptance                No Processing              NO
                                                                                                                                                                 @
                                                  Mixed
                                                  M"1Xed Plastics #3-7
                             PS#s)
                             PS#6)
                                                          Bale
  16

  17

  18

  19

  20

  21                                                                                                            Negagibie
                                                                                                                Neglltjible Processing
                                                                                                                            ProC<1SSing
                 IPlastic Trays &
                 Plastic
                  (typically PPII5
                                   & Bowls I
                                     PS#6} I
                             PP-5 & Ps561
                                                    Negative:
                                                     Negatlv•:
                                                  -2 to 1I cents/lb
                                                                              Low: 21% Acceptance                                              NO
                                                                                                                                                         @   (:)
                                                Mixed Plastics #3-7
  22                                                    Bale

                  Plastic
                  PlaStlc Cutlery,
                          CutlefY, Straws            Negative:              Negligible:                            No Processing               NO
  23                     &  Stirrers
                         &Stirrers                -2 to Iteems/lb
                                                          cencs/lb
                                                                            NeglIgIble: 4%
                                                                                        4•1~ Acceptance
                                                                                                                                                        @
                  (typically PR'S
                                                                                                                                                         0
                             PP•5 & P3601
                                    PS#6)       Mixed Plastics
                                                      Plasllcs ri3-7
                                                               R3-7
                                                        Bale
  24                                                                            NoMFIF
                                                                                No MRF Acceptance
                                                                                       Acceotance
                  Plastic Food & Mailing
                                   Malling
                  Pouches, Wraps, Films
                  Pouches.
                                                Negligible: I cents/lb
                                                                                           SAO roc
                                                                                aketesc'e s,,..
                                                                              -,f.Ql)a(:I<
                                                                                Dropoff" Na
                                                                               Dropotr
                                                                                                    'Ste, sa
                                                                                                ro, "Sto-
                                                                                         No Longer
                                                                                                                   No Processing               NO
                                                                                                                                                        @)
  25
                                                                                                                                                             O
                                 12. 54
                   (typically PE 62, 14 or                                   Required in
                                                                                      m CA 8.
                                                                                            & Very
                                                                                              V~y Few
                           PP~S)
                           PP1151                                                Stores Have
                                                                                         Hav~ Bins


  26                Plastic Coffee Pods
                                        as)
                              PP#5 & PS eel
                   (typically PPIJ5
                                                    Negative:
                                                  -2 to I cents/lb
                                                                                   No Acceptance                   No Processing               NO
                                                                                                                                                         @
                                                                #3-7
                                                Mixed Plastics ft3-7
  27                                                    Bale
                                                        Sale


  28


                                                                                                 -6-
Case 3:25-cv-00339-MMA-BLM                              Document 1-3                        Filed 02/14/25                        PageID.24             Page 9
                                                              of 52


   11

   2                                 Callfomla: Survey
                                     California: SuNey of Single Use
                                                                 UH Plastic  Item• Acceptance in Material Recovery Facilities
                                                                     Plaotlc Items                                 Facllltiao (MRFs)

                                Polystyran s Foam
                                Polystyrene  ~m Food
                                                  Food~
   3                              Service  pach :ing r:::::?:J
                                  s.rv1 .. packaging
                                                                                                    Out of 75 (100%) CA!Aft
                                              Plastic Sags
                                                      Ba1,l:J
   4
                                                Plastic Cups   tfJ
   5                                        Plastic Plates ®
                                                                                                                     Not Ai:contact

   6                                     Plastic Clamshell
                                                 ClamsheH ~


                                             Plastic Trays ~
   7
                                       Plastic Uds/Caps
                                               Uds/Olps~
                                             u,,....
                                            (loose)1
   8                                Plastic
                                    Plutlc Cutlery,  S1raws 1/111
                                            cutlery, Straws
                                           & Stirrers
                                           &Stirn,!'$          00
   9                                             Foacl & ~
                                         Plastic Food
                                        MaHln1 Pouches
                                        Mailing              Q                                                       Accepted

  10                                  Pllllt!c Coffee Pods
                                      Plastic         Poda   LJ
                                                   Mou/I Venkatssan
                                    Visualization: Moult
                                    Visuollzarlon:                                   Cktanup
                                                         Venkatesan & The Last Beach Cleanup
  11                                Dote:
                                    ~   : July 20, 2020



  12

  13
               22.         Studies in 2020 and 2022 have confirmed that only #1 PET Plastic Bottles and #2
  14
        HDPE Plastic Bottles and Jugs are accepted by MRFs, and are subsequently sorted and processed
  15
        throughout the U.S. Single-use plastics are rarely accepted by recycling facilities and are not
  16

  17    recyclable. In 2022, Greenpeace reported that less than 10 percent of the U.S. population had

  18

  19
  19                                                   2022 US Population Access to Recycling
                                                             Fast Food Packaging Items                                                          60%
  20
                                           FTC Legal Requirement
                                                     Requ irement
                                                                                                                           food service
                                                                                             Commonly used plastic fast food
  21

                               :~: : : :
                                                 Plastic Clamshells
                                                                                                                  close to meeting the
                                                                                             items do not come dose



                             @                                                                60% acceptance requirement to legally
                                                        Plastic Cups
  22                                                                                           claim an item is recyclable in the US.
                                                       Plastic Trays

  23                                                   Plastic Plates

                                                        Plastic Bags
                                                                                              E
                                                                                              •            NOT RECYCLABLE


  24
                         Expanded Polystyrene
                                  Polysl:'/rene Foam Food Service


  25                                      Plastic Lids/Caps (Loose)
                                                            (loose)

                                          Cutlery, Straws & Stirrers
                                  Plastic Cutlery,                           0%
  26
                                  Plastic
                                  Plastic Food Wrappers/Pouches              0%

  27
                           Data Source: Greenpeace,                                                                                               50%
                                                                        0%
                                                                        O¾        10%
                                                                                  10¾             20%        30%
                                                                                                             30"/4         40%
                                                                                                                           400.           50%
                           Circular Claims Fall Flat Again
  28                       (2022)
                                                                                        % Population Access to Recycling Fast Food Item
                                                                                        %
                     0



                                                                                         -7-
Case 3:25-cv-00339-MMA-BLM             Document 1-3        Filed 02/14/25      PageID.25       Page 10
                                             of 52


   11   access
        access to
                to MRF's
                   MRF's that
                          that recycle
                               recycle fast
                                       fast food
                                             food packaging
                                                  packaging items.
                                                             items. (See
                                                                    (See Figure:
                                                                         Figure: 2022
                                                                                 2022 US
                                                                                      US Population
                                                                                         Population Access
                                                                                                    Access

   22   to
         to Recycling
            Recycling Fast
                      Fast Food
                           Food Packaging
                                Packaging Items"
                                          Items" above.)
                                                 above.)
   33                  As
               23.
               23.     As aa food
                             food service
                                  service industry
                                          industry packaging
                                                   packaging its
                                                             its products
                                                                 products in
                                                                           in plastic
                                                                              plastic packaging,
                                                                                      packaging, EPL
                                                                                                 EPL has
                                                                                                     has
   44
        known,
        known, or
               or should
                  should have
                         have known,
                              known, that
                                     that its
                                          its plastic
                                              plastic products
                                                      products are
                                                               are not,
                                                                   not, and
                                                                        and never
                                                                            never will
                                                                                  will be,
                                                                                       be, recyclable.
                                                                                           recyclable. Yet
                                                                                                       Yet
   55
        EPL
        EPL falsely
            falsely claims
                    claims that
                           that their
                                their single-use
                                      single-use plastic
                                                 plastic packaging
                                                         packaging isis recyclable.
                                                                        recyclable. Worse,
                                                                                    Worse, EPL
                                                                                           EPL engages
                                                                                               engages in
                                                                                                       in
   66

   77   marketing
        marketing campaigns
                  campaigns designed
                            designed to
                                     to encourage
                                        encourage the
                                                  the consumption
                                                      consumption ofEPL's
                                                                  of EPL's plastic
                                                                           plastic products
                                                                                   products by
                                                                                            by falsely
                                                                                               falsely

   8    reassuring
        reassuring consumers
                   consumers that
                             that recycling
                                  recycling is
                                            is an
                                               an effective
                                                  effective solution.
                                                            solution. EPL
                                                                      EPL began
                                                                          began marketing
                                                                                marketing plastic
                                                                                          plastic PP
                                                                                                  PP #5
                                                                                                     #5
   99   as
        as aa more
              more recyclable
                   recyclable alternative
                              alternative to
                                          to styrofoam
                                             styrofoam (plastic
                                                       (plastic resin
                                                                resin #6).
                                                                      #6). In
                                                                           In 2021,
                                                                              2021, EPL
                                                                                    EPL announced
                                                                                        announced their
                                                                                                  their new
                                                                                                        new
  10
        "eco-conscious
        "eco-conscious packaging
                       packaging system."
                                 system." EPL
                                          EPL claimed,
                                              claimed, "These
                                                       "These new
                                                              new containers
                                                                  containers will
                                                                             will remove
                                                                                  remove 1.
                                                                                         1.99 million
                                                                                              million
  11
  11
        cubic
        cubic feet
              feet of Styrofoam -— the
                                   the equivalent of 21
                                                     21 Olympic-size
                                                        Olympic-size swimming
                                                                     swimming pools
                                                                              pools -               from
                                                                                                    from the
                                                                                                         the
  12
        national
        national waste
                 waste stream
                       stream annually,
                              annually, and
                                        and all
                                            all clear El Pollo
                                                         Polio Loco
                                                               Loco lids
                                                                    lids can be
                                                                             be recycled
                                                                                recycled just
                                                                                         just like
                                                                                              like PET
                                                                                                   PET
  13
  13

   14   bottles."
        bottles." However,
                  However, as
                           as referenced herein,
                                         herein, neither plastic
                                                         plastic #5
                                                                 #5 or #6
                                                                       #6 are
                                                                          are recyclable.
                                                                              recyclable. Worse,
                                                                                          Worse, EPL claims
                                                                                                     claims

  15
  15    that "all clear El Pollo
                           Polio lids
                                 lids can be recycled just
                                                      just like PET bottles."
                                                                    bottles." This
                                                                              This is
                                                                                   is false
                                                                                      false and/or misleading,
                                                                                                   misleading,
  16
        because PET bottles
                    bottles are
                            are accepted by 100% of California Material Recycling
                                                                        Recycling Facilties
                                                                                  Facilties (MRFs),
                                                                                            (MRFs), yet
  17
        only 8%
             8% of California MRFs accept plastic lids.
                                                  lids. (See Figure "California:
                                                                    "California: Survey of Single Use
  18
        Plastic Items Acceptance in Material Recovery Facilties (MRFs)"
                                                                (MRFs)" above).
                                                                        above). Further, while California
  19

  20    has the capacity to process PET plastic bottles and HDPE bottles, there is no or negligible

  21
  21    processing capacity for another other type of plastic, including plastic resin #5.
                                                                                       #5. Finally, there is
  22    no viable market for any plastic product other than PET bottles and HDPE bottles and jugs.
  23
                24.    The EPF "recycling" representations (including the use of the "chasing arrows"
  24
        symbol) are therefore false, deceptive and/or misleading. Many of the products are not actually
  25

  26    recyclable in San Diego County, or any other county in California. Further, even where some of

  27                     (on occasion) be recycled, they are not consistently recyclable. Defendant
        the products may (on

  28    packages their products in a plastic bag commonly-identified as "#2 HDPE" plastic. (See Exhibit


                                                          -8-
Case 3:25-cv-00339-MMA-BLM             Document 1-3        Filed 02/14/25      PageID.26       Page 11
                                             of 52


   1    D). Plastic
        D). Plastic films
                    films and
                          and bags
                              bags of
                                   of any
                                      any resin
                                          resin code,
                                                code, including
                                                       including #2
                                                                 #2 HDPE,
                                                                    HDPE, are
                                                                          are not
                                                                              not commonly
                                                                                  commonly recycled
                                                                                           recycled in
                                                                                                     in

   22   California,
        California, or
                    or anywhere
                       anywhere else.
                                else. (See
                                      (See Figure:
                                           Figure: 2022
                                                   2022 US
                                                        US Population
                                                           Population Access
                                                                      Access to
                                                                              to Recycling
                                                                                 Recycling Fast
                                                                                           Fast Food
                                                                                                Food
   33
        Packaging
        Packaging Items"
                  Items" and
                         and Figure
                             Figure "California:
                                    "California: Survey
                                                 Survey of
                                                        of Single
                                                           Single Use
                                                                  Use Plastic
                                                                      Plastic Items
                                                                              Items Acceptance
                                                                                    Acceptance in
                                                                                               in
   44
        Material
        Material Recovery
                 RecoveryFacilities
                          Facilities(MRFs )" above.)
                                    (MRFs)"  above.)In
                                                     In fact,
                                                        fact, such
                                                              suchplastics
                                                                   plasticsare
                                                                           are rejected
                                                                               rejected by
                                                                                        bymany
                                                                                           many California
                                                                                                California
   55
        counties
        counties and
                 and Recycling
                     Recycling facilities,
                               facilities, including
                                           including San
                                                     San Diego
                                                         Diego County.
                                                               County. Flexible
                                                                       Flexible plastic
                                                                                plastic bags,
                                                                                        bags, film,
                                                                                              film, wrap,
                                                                                                    wrap,
   66

   77   and
        and pouches
            pouches are
                    are aa top
                           top form
                               form of
                                    of contamination
                                       contamination in
                                                     in curbside
                                                        curbside recycling
                                                                 recycling bins.
                                                                           bins. These
                                                                                 These materials
                                                                                       materials are
                                                                                                 are not
                                                                                                     not

   88   widely
        widely accepted
               accepted in
                        in curbside
                           curbside bins
                                    bins in
                                         in California,
                                            California, as
                                                        as they
                                                           they clog
                                                                clog machinery
                                                                     machinery at
                                                                               at Material
                                                                                  Material Recovery
                                                                                           Recovery
   99   Facilities
        Facilities (MRFs)
                   (MRFs) and
                          and other
                              other plastic
                                    plastic waste
                                            waste processors.
                                                  processors. (Please
                                                              (Please see
                                                                      see Exhibit
                                                                          Exhibit H).
                                                                                  H).
  10
               25.
               25.     Separately,
                       Separately, Defendant packages
                                             packages several
                                                      several of their food
                                                                       food items
                                                                            items in
                                                                                  in take-out containers
                                                                                              containers
  11
  11
        that are
             are labeled with
                         with the
                              the chasing
                                  chasing arrows
                                          arrows symbol
                                                 symbol and
                                                        and #5
                                                            #5 plastic
                                                               plastic resin
                                                                       resin code.
                                                                             code. The
                                                                                   The bottom
                                                                                       bottom of these
                                                                                                 these
  12

  13
  13    containers
        containers are
                   are solid black in color.
                                      color. (Please
                                             (Please ee         B). Plastic
                                                     ee Exhibit B). Plastic #5
                                                                            #5 is
                                                                               is only
                                                                                  only very
                                                                                       very rarely
                                                                                            rarely recycled
                                                                                                   recycled in
                                                                                                            in

  14    California.
        California. While #5
                          #5 Plastics
                             Plastics may
                                      may be accepted in some curbside recycling
                                                                       recycling programs,
                                                                                 programs, they
                                                                                           they are
                                                                                                are not
  15
  15    commonly sorted,
                 sorted, sold,
                         sold, or recycled as
                                           as there
                                              there is
                                                    is no
                                                       no market demand for
                                                                        for #5
                                                                            #5 plastics
                                                                               plastics and there
                                                                                            there are
                                                                                                  are no
                                                                                                      no
  16
        facilities
        facilities in California that can process
                                          process plastic
                                                  plastic resins
                                                          resins #3
                                                                 #3 through #7.
                                                                            #7. Further,
                                                                                Further, black plastic is very
                                                                                                          very
  17
        difficult to recycle,
                     recycle, as
                              as optical sorters cannot detect black items and therefore cannot easily sort
  18
        them.
        them. Additionally,
              Additionally, black plastic does
                                          does not melt well with other plastics.
                                                                        plastics. Many cities and counties
  19

  20    therefore instruct residents to place black plastics in the garbage.
                                                                    garbage. (Please see Exhibit E).
                                                                                                 E). Direct

  21
  21    Pack, Inc., EPL's partner for "sustainable packaging,"
                                                   packaging," (Please see Exhibit F), has admitted that
  22
        black plastic is not recovered from the waste stream, and is therefore not recyclable.
                                                                                   recyclable. (Please see
  23
  23
        Exhibit G).
  24
               26.     California law requires that, in order for a plastic to be recyclable, there must be
  25

  26    market demand and it must maintain value. Under California law, "[i]t is deceptive to misrepresent,

  27    directly or by implication, that a product or packaging is recyclable. A product of package shall not
  28
        be marketed as recyclable unless it can be collected, separated, or otherwise recovered from the

                                                          -9-
Case 3:25-cv-00339-MMA-BLM              Document 1-3        Filed 02/14/25      PageID.27       Page 12
                                              of 52


    11   waste stream through an established recycling program for reuse or use in manufacturing or

    2    assembling another item." Defendant's representations are false, deceptive and/or misleading, as
    3
         there is no current established recycling program for reuse or use in manufacturing or assembling
    4
         another item.
    5
                 27.     When consumers place these plastics products in their curbside recycling bin, it is
    6

    7    highly unlikely that any of EPL plastic packaging will actually be recycled by anyone, or any

    8    Recycling facility. There is no economic value for recycled plastics, as virgin plastics are cheaper

    9    and of higher quality. Recycling plastic is costly, difficult, and time consuming. Further, the use
   10
         of recycled plastics is limited, as the recycling process introduces new toxins into the plastic.
   11
         Recycled plastic cannot be recycled into food-safe products, and numerous studies have found high
   12

  13     levels of toxic flame retardants, dioxins, and other harmful chemicals in products made with

  14     recycled plastics and/or recycled pellets. As a result, the majority of plastics are not recycled, and

  15     therefore are either sent to a landfill, or dumped into California's landscapes and waterways. In
  16
         2022 alone, it is estimated that between 121,324 and 179,756 tons of plastic waste was leaked into
  17
         the land and ocean in California. Plastic waste that is dumped at landfills contributes to plastic
  18
         pollution of the environment. As plastic waste degrades in landfills, micro-plastics are released into
  19

  20     the surrounding environment, including the air, soil, groundwater, and surface water. Thus, the EPL

  21     representations are false, deceptive and/or misleading.
  22
                                PRIVATE ATTORNEYS GENERAL ALLEGATIONS
  23
                28.      Plaintiff asserts claims on behalf of class members pursuant to California Business
  24
         & Professions Code § 17200, et seq. The purpose of such claims is to obtain injunctive orders
  25

  26     regarding the false labeling, deceptive marketing and consistent pattern and practice of falsely

  27     promoting natural claims and the disgorgement of all profits and/or restoration of monies

  28     wrongfully obtained through the Defendant's pattern of unfair and deceptive business practices as


                                                          -10-
Case 3:25-cv-00339-MMA-BLM            Document 1-3         Filed 02/14/25      PageID.28       Page 13
                                            of 52


   11   alleged
        alleged herein.
                herein. This
                        This private
                             private attorneys
                                     attorneys general
                                               general action
                                                       action is
                                                               is necessary
                                                                  necessary and
                                                                            and appropriate
                                                                                appropriate because
                                                                                            because

   22   Defendant
        Defendant has
                  has engaged
                      engaged in
                               in wrongful
                                  wrongful acts
                                           acts described
                                                described herein
                                                          herein as
                                                                 as part
                                                                    part of
                                                                         of the
                                                                             the regular
                                                                                 regular practice
                                                                                         practice of
                                                                                                  of its
                                                                                                      its
   33
        business.
        business.
   44
                                       CLASS
                                       CLASS ACTION
                                             ACTION ALLEGATIONS
                                                    ALLEGATIONS
   55
               29.
               29.     Plaintiff
                       Plaintiff brings
                                 brings this
                                        this action
                                             action on
                                                    on his
                                                       his own
                                                           own behalf
                                                               behalf and
                                                                      and on
                                                                          on behalf
                                                                             behalf of
                                                                                    of all
                                                                                       all other
                                                                                           other persons
                                                                                                 persons
   66
   77   similarly
        similarly situated
                  situated pursuant
                           pursuant to
                                    to California
                                       California law.
                                                   law.

   88          30.
               30.     Plaintiff
                       Plaintiff seeks
                                 seeks to
                                       to represent
                                          represent aa Class,
                                                       Class, or
                                                              or Classes,
                                                                 Classes, to
                                                                          to be
                                                                             be identified
                                                                                identified within
                                                                                           within aa future
                                                                                                     future
   99   Motion
        Motion for
               for Class
                   Class Certification.
                         Certification. Excluded
                                        Excluded from
                                                 from the
                                                      the Class
                                                          Class will
                                                                will be
                                                                     be EPL,
                                                                        EPL, as
                                                                             as well
                                                                                well as
                                                                                     as its
                                                                                        its officers,
                                                                                            officers,
  10
        employees,
        employees, agents
                   agents or affiliates,
                             affiliates, and
                                         and any
                                             anyjudge
                                                 judge who
                                                       who presides
                                                           presides over this
                                                                         this action,
                                                                              action, as
                                                                                      as well
                                                                                         well as
                                                                                              as all
                                                                                                 all past and
                                                                                                          and
  11
  11
        present employees,
                employees, officers
                           officers and
                                    and directors
                                        directors of EPL.
                                                     EPL. Plaintiff reserves
                                                                    reserves the
                                                                             the right to
                                                                                       to expand,
                                                                                          expand, limit,
                                                                                                  limit,
  12
        modify,
        modify, or amend
                   amend his
                         his class
                             class definition,
                                   definition, including
                                               including the
                                                         the addition
                                                             addition of one
                                                                         one or more
                                                                                more subclasses,
                                                                                     subclasses, in
  13
  13

  14    connection with his
                        his motion for
                                   for class
                                       class certification,
                                             certification, or at any
                                                                  any other time,
                                                                            time, based upon,
                                                                                        upon, inter alia,
                                                                                                    alia,

  15
  15    changing circumstances
                 circumstances and/or new
                                      new facts
                                          facts obtained during
                                                         during discovery.
                                                                discovery.
  16
               31.
               31.     The Class
                           Class is
                                 is made up
                                         up of thousands
                                               thousands of persons
                                                            persons throughout California,
                                                                               California, the
                                                                                           the joinder of
  17
        whom is impracticable, and the disposition of their claims in a Class Action will benefit the parties
  18
        and the Court.
                Court. The Class is sufficiently numerous because, based on information and belief,
  19

  20    thousands to hundreds of thousands of units of the EPL Products have been sold in the State of

  21
  21    California during the time period from October, 2020, through the present (the "Class Period").
  22                   There is a well-defined community of interest in this litigation and the Class is
               32.
  23
  23
        easily ascertainable:
  24
                       a. Numerositv: The members of the Classes are so numerous that any form of
  25

  26                   joinder of all members would be unfeasible and impractical. On information and

  27                   belief, Plaintiff believes the size of the Classes exceeds One Hundred Thousand

  28                   (100,000) members.


                                                          -11-
Case 3:25-cv-00339-MMA-BLM             Document 1-3         Filed 02/14/25       PageID.29       Page 14
                                             of 52


    11                  b.
                        b. Typicality:
                           Typicality: Plaintiff
                                       Plaintiff isis qualified
                                                      qualified to
                                                                 to and
                                                                    and will
                                                                        will fairly
                                                                             fairly and
                                                                                    and adequately
                                                                                        adequately protects
                                                                                                   protects the
                                                                                                             the

   22                   interests
                         interests of
                                   of each
                                      each member
                                           member of
                                                  of the
                                                      the Classes
                                                          Classes with
                                                                  with whom
                                                                       whom he
                                                                            he has
                                                                               has aa well-defined
                                                                                      well-defined
   33                   community
                        community of
                                  of interest
                                     interest and
                                              and the
                                                  the claims
                                                      claims ((or
                                                               or defenses,
                                                                  defenses, if
                                                                            if any),
                                                                               any), are
                                                                                     are typical
                                                                                         typical of
                                                                                                 of all
                                                                                                    all
   44
                        members
                        members of
                                of the
                                   the Classes.
                                       Classes.
   55
                        c.c. Adequacy:
                             Adequacy: Plaintiff
                                       Plaintiff does
                                                 does not
                                                      not have
                                                          have aa conflict
                                                                  conflict with
                                                                           with the
                                                                                the Classes
                                                                                    Classes and
                                                                                            and is
                                                                                                 is qualified
                                                                                                    qualified to
                                                                                                              to
   66

   77                   and
                        and will
                            will fairly
                                 fairly and
                                        and adequately
                                            adequately protect
                                                       protect the
                                                               the interests
                                                                   interests of
                                                                             of each
                                                                                each member
                                                                                     member of
                                                                                            of the
                                                                                               the Classes
                                                                                                   Classes

    8                   with
                        with whom
                             whom he
                                  he has
                                     has aa well-
                                            well- defined
                                                  defined community
                                                          community of
                                                                    of interest
                                                                       interest and
                                                                                and typicality
                                                                                    typicality of
                                                                                               of claims.
                                                                                                  claims.
   99                   Plaintiff
                        Plaintiff acknowledges
                                  acknowledges that
                                               that he
                                                    he has
                                                       has an
                                                           an obligation to
                                                                         to the
                                                                            the Court
                                                                                Court to
                                                                                      to make
                                                                                         make known
                                                                                              known any
                                                                                                    any
   10
                        relationship,
                        relationship, conflict,
                                      conflict, or difference
                                                   difference with
                                                              with any
                                                                   any putative
                                                                       putative class
                                                                                class member.
                                                                                      member. Plaintiffs
                                                                                              Plaintiff's
   11
   11
                        attorneys
                        attorneys and
                                  and proposed
                                      proposed class
                                               class counsel
                                                     counsel are
                                                             are well
                                                                 well versed
                                                                      versed in
                                                                             in the
                                                                                the rules
                                                                                    rules governing
                                                                                          governing class
                                                                                                    class
   12
                        action
                        action and
                               and complex
                                   complex litigation regarding
                                                      regarding discovery,
                                                                discovery, certification,
                                                                           certification, and
                                                                                          and settlement,
                                                                                              settlement, and
   13
   13

   14                   have
                        have been previously designated,
                                             designated, by California state courts,
                                                                             courts, as
                                                                                     as "Class
                                                                                        "Class Counsel"
                                                                                               Counsel" on

   15
   15                   at least 50 prior occasions.
                                          occasions.
   16
                        d.
                        d. Superiority:
                           Superiority: The nature
                                            nature of this
                                                      this action makes
                                                                  makes the
                                                                        the use
                                                                            use of class
                                                                                   class action adjudication
   17
                        superior to other methods.
                                          methods. Class action will achieve economies of time,
                                                                                          time, effort,
                                                                                                effort, and
   18
                        expense as
                                as compared with separate lawsuits,
                                                          lawsuits, and will avoid inconsistent outcomes
   19

  20                    because the same issues can be adjudicated in the same manner and at the same

  21
  21                    time for the entire class.
  22                    Common questions oflaw
                33.                      of law and fact exist, that predominate over questions that may
  23
         affect individual class members. Common questions of law and fact include, but are not limited
  24
         to, the following:
                 following:
  25
                        a.      Whether Defendant's conduct is a fraudulent business act or practice within
  26

  27                                                                                 17200, et seq.;
                                the meaning of Business and Professions Code section 17200,

  28


                                                          -12-
Case 3:25-cv-00339-MMA-BLM             Document 1-3         Filed 02/14/25      PageID.30        Page 15
                                             of 52


   1                    b.b.   Whether
                               Whether Defendant's
                                       Defendant's advertising
                                                   advertising isis untrue
                                                                    untrue or
                                                                           or misleading
                                                                              misleading within
                                                                                         within the
                                                                                                 the

   22                          meaning
                               meaning of
                                       of Business
                                          Business and
                                                   and Professions
                                                       Professions Code
                                                                   Code section
                                                                        section 17500,
                                                                                17500, et
                                                                                       et seq.;
                                                                                          seq.;
   33                           Whether
                        c.
                        C.      WhetherDefendant
                                        Defendantmade
                                                 madefalse,
                                                      false,deceptive
                                                            deceptive and/ or misleading
                                                                      and/or  misleading representations
                                                                                         representations
   44
                                in
                                in the
                                   the advertising
                                       advertising and/or
                                                   and/or packaging
                                                          packaging of
                                                                    of the
                                                                       the EPL
                                                                           EPL Products;
                                                                               Products;
   55
                        d.
                        d.      Whether
                                Whether Defendant
                                        Defendant knew
                                                  knew or
                                                       or should
                                                          should have
                                                                 have known
                                                                      known that
                                                                            that the
                                                                                 the recyclability
                                                                                     recyclability
   66

   77                          claims
                               claims and
                                      and representations
                                          representations were
                                                          were false,
                                                               false, deceptive
                                                                      deceptive and/or
                                                                                and/or misleading;
                                                                                       misleading;

   8                    e.
                        e.      Whether
                                Whether Defendant
                                        Defendant represented
                                                  represented that
                                                              that the
                                                                   the EPL
                                                                       EPL Products
                                                                           Products have
                                                                                    have characteristics,
                                                                                         characteristics,
   99                           benefits,
                                benefits, uses,
                                          uses, or
                                                or quantities
                                                   quantities which
                                                              which they
                                                                    they do
                                                                         do not
                                                                            not have;
                                                                                have;
   10
                        f.f.    Whether Defendant's
                                        Defendant's representations
                                                    representations regarding
                                                                    regarding the
                                                                              the EPL
                                                                                  EPL Products
                                                                                      Products are
                                                                                               are false,
                                                                                                   false,
  11
  11
                                deceptive
                                deceptive and/or misleading;
                                                 misleading;
   12
                        g.
                        g.      Whether the
                                        the Defendant breached warranties
                                                               warranties regarding
                                                                          regarding the
                                                                                    the EPL
                                                                                        EPL Products;
                                                                                            Products;
   13
   13

   14                   h.
                        h.      Whether the
                                        the Defendant committed statutory and common law
                                                                                     law fraud;
                                                                                         fraud; and

   15
   15                   i.      Whether Defendant's
                                        Defendant's conduct as
                                                            as alleged herein constitutes
                                                                              constitutes an unfair and/ or
                                                                                                    and/or
   16
                                unlawful business
                                         business act or practice within the
                                                                         the meaning of Business
                                                                                        Business and
  17
                                Professions Code section 17200, et seq.
                                                                   seq.
  18
                  34.
                  34.   Plaintiff's claims are typical of the claims of the Class, and Plaintiff will fairly
                                                                                                      fairly and
  19
  20
  20    adequately represent and protect the interests of the Class. Plaintiff has retained competent and

  21
  21    experienced counsel in class action and other complex litigation.
  22                    Plaintiff and the Class have suffered injury in fact,
                  35.                                                   fact, and have lost money, as a result
  23
  23
        of Defendant's misrepresentations. Plaintiff purchased the EPL products under the belief that they
  24
        were packaged with recyclable materials. Plaintiff relied on Defendant's labeling, marketing and
  25

  26    website and would not have purchased the EPL Products or paid a premium for them if he had

  27    known that they did not have the characteristics, benefits, or qualities as represented vis-à-vis
                                                                                                vis-a-vis the

  28    claims.


                                                          -13-
Case 3:25-cv-00339-MMA-BLM             Document 1-3        Filed 02/14/25       PageID.31        Page 16
                                             of 52


   11          36.
               36.     The
                       TheDefendant's
                           Defendant'smisrepresentations
                                      misrepresentationsregarding
                                                         regardingthe
                                                                   theClaims
                                                                      Claimswere
                                                                             werematerial
                                                                                 material insofar
                                                                                           insofaras
                                                                                                  as

   22   consumers
        consumersrelate
                  relateto
                         torecyclable
                            recyclablepolicies,
                                      policies,and
                                                andtend
                                                    tendto
                                                         tobe
                                                           bewilling
                                                              willingto
                                                                      topay
                                                                        payaaprice
                                                                             pricepremium
                                                                                   premiumfor
                                                                                           forfoods
                                                                                               foodsthat
                                                                                                     that
   33 employ such policies and/or practices. The Defendant is aware of consumer preference for such
      employ such policies and/or practices. The Defendant is aware of consumer preference for such
   44
      products,
      products, and
                and has
                    has implemented
                         implemented aa strategic
                                           strategic false
                                                      false advertising
                                                            advertising and
                                                                        and marketing
                                                                             marketing campaign
                                                                                        campaign intended
                                                                                                  intended to
                                                                                                            to
   55
      deceive
      deceive consumers
              consumers into
                          into thinking
                                thinking that
                                          that the
                                                the EPL
                                                    EPL employs
                                                          employs such
                                                                    such policies
                                                                         policies and
                                                                                  and practices.
                                                                                      practices.
   66

   77          37.
               37.     A
                       A class
                         class action
                               action isis superior
                                           superior to
                                                     to other
                                                        other available
                                                              available methods
                                                                        methods for
                                                                                 for fair
                                                                                      fair and
                                                                                           and efficient
                                                                                               efficient

   88   adjudication
        adjudication of
                     of this
                         this controversy.
                              controversy. The
                                           The expense
                                               expense and
                                                       and burden
                                                           burden of
                                                                  of individual
                                                                      individual litigation
                                                                                  litigation would
                                                                                             would make
                                                                                                   make itit
   99   impracticable
         impracticable or
                       or impossible
                           impossible for
                                      for class
                                          class members
                                                members to
                                                         to prosecute
                                                            prosecute their
                                                                       their claims
                                                                             claims individually.
                                                                                     individually.
  10
  10
               38.
               38.     The
                       The trial
                            trial and
                                  and litigation
                                       litigation of
                                                  ofPlaintiffs
                                                     Plaintiff'sclaims
                                                                claimsare
                                                                       are manageable.
                                                                           manageable.Individual
                                                                                       Individual litigation
                                                                                                   litigation of
                                                                                                              of
  11
  11
        the
        the legal
            legal and
                  and factual
                      factual issues
                              issues raised
                                     raised by
                                            by Defendant's
                                               Defendant's conduct
                                                           conduct would
                                                                   would increase
                                                                         increase delay
                                                                                  delay and
                                                                                        and expense
                                                                                            expense to
                                                                                                    to all
                                                                                                       all
  12
  12
        parties
        parties and
                and the
                    the court
                        court system.
                              system. The
                                      The class
                                          class action
                                                action device
                                                       device presents
                                                              presents far
                                                                       far fewer
                                                                           fewer management
                                                                                 management difficulties
                                                                                            difficulties
  13
  13
  14
  14    and
        and provides
            provides the
                     the benefits
                         benefitsof
                                  ofaa single,
                                       single, uniform
                                               uniform adjudication,
                                                       adjudication, economies
                                                                     economies of
                                                                               ofscale,
                                                                                  scale, and
                                                                                         and comprehensive
                                                                                             comprehensive

  15
  15    supervision
        supervision by
                    by aa single
                          single court.
                                 court.
  16
               39.
               39.     Defendant has
                                 has acted
                                     acted on
                                           on grounds
                                              grounds generally
                                                      generally applicable
                                                                applicable to
                                                                           to the
                                                                              the Class
                                                                                  Class as
                                                                                        as a whole,
                                                                                             whole, thereby
                                                                                                    thereby
  17
  17
        making
        making final
               final injunctive
                     injunctive relief
                                relief and/or corresponding
                                              corresponding declaratory
                                                            declaratory relief
                                                                        relief appropriate
                                                                               appropriate with
                                                                                           with respect
                                                                                                respect to
                                                                                                        to
  18
  18
        the
        the Class
            Class as
                  as aa whole.
                        whole. The prosecution of separate actions
                                                           actions by individual class
                                                                                 class members
                                                                                       members would create
  19

  20    the
        the risk of inconsistent or varying
                                    varying adjudications
                                            adjudications with respect to
                                                                       to individual members
                                                                                     members of the
                                                                                                the Class
                                                                                                    Class

  21
  21    that would establish incompatible standards of conduct for the Defendant.
                                                                       Defendant.
  22                   Absent a class action,
               40.
               40.                    action, Defendant is likely to retain the benefits of their wrongdoing.
                                                                                                  wrongdoing.
  23
  23
        Because of the small size of the individual class members'
                                                          members' claims, few,
                                                                           few, ifany,
                                                                                if any, class members could
  24
        afford to seek legal redress for the wrongs complained of herein.
                                                                  herein. Absent a representative action,
  25
        the class members will continue to suffer losses and Defendant will be allowed to continue these
  26

  27    violations of law and to retain the proceeds of its ill-gotten gains.

  28


                                                         -14-
Case 3:25-cv-00339-MMA-BLM              Document 1-3         Filed 02/14/25      PageID.32       Page 17
                                              of 52


    11          41.
                41.       Were
                          Were if
                               ifnot
                                  not for
                                      forthis
                                          this class
                                               class action,
                                                     action, most
                                                             most class
                                                                  class members
                                                                        members would
                                                                                would find
                                                                                      findthe
                                                                                           the cost
                                                                                               cost associated
                                                                                                    associated

    22   with
         with litigating
               litigating claims
                          claims extremely
                                 extremely prohibitive,
                                           prohibitive, which
                                                        which would
                                                              would result
                                                                    result in
                                                                            in no
                                                                               no remedy.
                                                                                  remedy.
    33                    This
                42.
                42.       This class
                               class action
                                     action would
                                            would serve
                                                  serve to
                                                         to preserve
                                                            preservejudicial
                                                                     judicial resources,
                                                                              resources, the
                                                                                         the respective
                                                                                             respective parties'
                                                                                                        parties'
    44
         resources,
         resources, and
                    and present
                        present fewer
                                fewer issues
                                      issues with
                                             with the
                                                  the overall
                                                      overall management
                                                              management of
                                                                         ofclaims,
                                                                            claims, while
                                                                                    while at
                                                                                          at the
                                                                                             the same
                                                                                                 same time
                                                                                                      time
    55
         ensuring
         ensuring aa consistent
                     consistent result
                                result as
                                       as to
                                          to each
                                             each class
                                                  class member.
                                                        member.
    66

    77                                       FIRST
                                             FIRST CAUSE
                                                    CAUSE OFOF ACTION
                                                               ACTION
                       Violations
                       Violations of
                                  of California
                                     California Business
                                                 Business & Professions
                                                            Professions Code
                                                                        Code §§17500,
                                                                              §§17500, et
                                                                                       et seq.
                                                                                          seq.
    8                         By
                              By Plaintiff
                                  Plaintiff and
                                            and the
                                                the Proposed
                                                    Proposed Class
                                                             Class against
                                                                   against Defendants
                                                                           Defendants
    99           43.
                 43.      Plaintiff hereby
                                    hereby incorporates
                                           incorporates by
                                                        by reference
                                                           reference the
                                                                     the allegations
                                                                         allegations contained
                                                                                     contained in
                                                                                               in all
                                                                                                  all preceding
                                                                                                      preceding
   10
         paragraphs
         paragraphs of this
                       this complaint.
                            complaint.
   11
   11
                 44.
                 44.      Pursuant to
                                   to Cal.
                                      Cal. Bus.
                                           Bus. & Prof.
                                                  Prof Code§§
                                                        Code §§ 17500,
                                                                17500, et seq.,
                                                                          seq., it is
                                                                                   is "unlawful
                                                                                      "unlawful for
                                                                                                for any
                                                                                                    any person
                                                                                                        person
   12
         to
         to make
            make or disseminate
                    disseminate or cause
                                   cause to
                                         to be
                                            be made
                                               made or disseminated
                                                       disseminated before
                                                                    before the
                                                                           the public
                                                                               public in
                                                                                      in this
                                                                                         this state,
                                                                                              state, ...
                                                                                                     ... in
                                                                                                         in any
                                                                                                            any
   13
   13

   14    advertising
         advertising device
                     device ...
                            ... or in any
                                      any other manner or means
                                                          means whatever,
                                                                whatever, including
                                                                          including over the
                                                                                         the Internet,
                                                                                             Internet, any
                                                                                                       any

   15
   15    statement,
         statement, concerning ...
                               ... personal property or services,
                                                        services, professional or otherwise,
                                                                                  otherwise, or performance
   16
         or disposition thereof,
                        thereof, which is untrue
                                          untrue or misleading and which is
                                                                         is known,
                                                                            known, or which by the
                                                                                               the exercise
   17
         ofreasonable
         of reasonable care should be known,
                                      known, to be untrue or misleading."
                                                             misleading."
   18
                 45.
                 45.      Defendant committed acts
                                              acts of false
                                                      false advertising,
                                                            advertising, as
                                                                         as defined by§ 17 500, by making the
                                                                                    by §17500,
   19
   20
   20    Claims regarding the EPL products because those claims are untrue and/or misleading.
                                                                                  misleading.

   21
   21            46.      Because the Defendant has been made aware of the lack of recyclability aspect to
   22    its product packaging/labeling, Defendant knew or should have known through the exercise of
   23
   23
         reasonable care, that the EPL claims were false, untrue and/or misleading to Plaintiff and the class
   24
         members.
   25

   26            47.      Defendant's actions in violation of
                                                           of§§ 17500 were untrue and/or misleading such that

  27     the Plaintiff, the Proposed Class and the general public are and were likely to be deceived by the

  28     untrue and/or misleading statements.


                                                           -15-
Case 3:25-cv-00339-MMA-BLM             Document 1-3        Filed 02/14/25      PageID.33       Page 18
                                             of 52


    11           48.     Plaintiff and the Proposed Class Members lost money or property as a result of

    2    Defendant's false advertising violations, because they would not have purchased, or would not
    3
         have paid a premium, for the EPL products if they had not been deceived by the Claims.
    4
                                       SECOND CAUSE OF ACTION
    5                  For Violation Cal. Bus. & Prof. Code § 17200, et seq. By Plaintiff
                                    and Proposed Class against Defendants
    6

    7            49.    Plaintiff hereby incorporates by reference the allegations contained in all preceding

    8    paragraphs of this complaint.

    9            50.    Plaintiff is a direct victim of Defendant's illegal and/or unfair business acts and
   10
         practices referenced in this complaint, has lost money as a result of such practices, and brings this
   11
         action both in his individual capacity and on behalf of California citizen consumers who share a
   12

   13    common or general interest in the damages as a result of the illegal and/or unfair practices.

   14            51.    The approximately 100,000 member class is ascertainable via their experience as

   15    California citizens who purchased EPL products within the State of California at some point within
   16
         the operative Limitations Period. Class members share a community of interest and an injury-in-
   17
         fact as Defendant has violated California laws, thereby depriving class members of money earned.
   18
         Based on the facts set forth above, it would be impracticable to proceed in individual actions.
   19

   20           52.     Plaintiffsuffered an injury-in-fact pursuant to Business & Professions Code section

  21     17204, and lost money as a result of Defendant's illegal and/or unfair practices.
  22
                 53.    Plaintiff brings this action on behalf of an ascertainable class who share a
  23
         community of interest pursuant to Business & Professions Code section 17203 and Code of Civil
  24
         Procedure section 382 and who share a common or general interest in the damages as a result of
  25

  26     the illegal and/or unfair practices, in that those individuals on whose behalf the action is brought

  27     have also lost money as a result of Defendant's practices, as set forth above, and that it would be
  28     impracticable to proceed as an individual plaintiff action.


                                                         -16-
Case 3:25-cv-00339-MMA-BLM              Document 1-3           Filed 02/14/25   PageID.34       Page 19
                                              of 52


    11          54.       Business & Professions Code section 17200 et seq. prohibits any unlawful, unfair,

   2     or fraudulent business act or practice.
    3
                55.       Plaintiffs allegations herein are based upon Defendant's institutional business acts
                          Plaintiff's
    4
         and practices.
    5
                56.       Defendant's acts and practices, as described herein above, are unlawful and unfair,
    6

    77   in that they violate California law.

    8           57.       As a direct result of Defendant's unlawful and unfair business acts and practices,

    9    Plaintiff and all other class members have been damaged in an amount to be proven. Accordingly,
   10
         Plaintiff prays for restitution and injunctive damages in an amount to be proven.
   11
                58.       Plaintiff is informed and believes, and on that basis alleges, that Defendant's
   12
         unlawful and unfair business practices, alleged above, are continuing in nature and are widespread.
   13

   14           59.       On behalf of the ascertainable class, Plaintiff respectfully requests a public

   15    injunction against Defendant to enjoin it from continuing to engage in the illegal conduct alleged
   16
         herein. On behalf of the ascertainable class, Plaintiff respectfully requests restitution damages.
   17
                60.       Plaintiff has incurred and continue to incur legal expenses and attorneys' fees.
   18
         Plaintiff is presently unaware of the precise amount of these expenses and fees, and prays for leave
   19

  20     of court to amend this complaint when the amounts are more fully known.

  21                                            PRAYER FOR RELIEF
  22
                WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, seeks
  23
         judgment against Defendant, as follows:
                                        follows:
  24
                a.        For an order certifying the Class;
  25

  26            b.        For an order certifying Plaintiff as the representative of the Class and Plaintiff's
                                                                                                   Plaintiffs

  27                      attorneys as Class Counsel;

  28


                                                          -17-
Case 3:25-cv-00339-MMA-BLM             Document 1-3        Filed 02/14/25       PageID.35      Page 20
                                             of 52


    11          c.
                C.      For an order declaring the Defendant's conduct violates the statutes and laws

    2                   referenced herein;
    3
                d.                                                             and/or misleading labeling and
                        For an order to correct, destroy, and change all false and/or
    4
                        website terms relating to the Claims;
    5
                e.      For an order finding in favor of Plaintiff, the Class on all counts asserted herein;
    6

    7           f.      For prejudgment interest on all amounts awarded;

    8           g.
                g.      For an order of restitution, disgorgement of profits, and all other forms of equitable

    9                   monetary relief;
   10
                h.      For injunctive relief as pleaded or as the Court may deem proper; and
   11
                il..    For an order awarding Plaintiff, and the Class, their reasonable attorneys' fees and
   12

   13                   expenses and costs of suit.

   14                                  DEMAND FOR TRIAL BY JURY

   15           Plaintiff respectfully demands a trial by jury of all issues.
   16

   17
         Dated: October 21, 2024                SULLIVAN & YAECKEL LAW GROUP, APC
   18

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  20
                                                Eric K .Yae ke
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                                                Ryan T. Ku
  22                                            Attorneys for aintiff DARKO BOGAVAC an Individual
                                                on behalf of himself and all others similarly situated and the
  23                                            general public
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Case 3:25-cv-00339-MMA-BLM   Document 1-3   Filed 02/14/25   PageID.36   Page 21
                                   of 52




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                             Exhibit A
      Case 3:25-cv-00339-MMA-BLM                                                    Document 1-3                         Filed 02/14/25   PageID.37        Page 22
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                             Exhibit B
Case 3:25-cv-00339-MMA-BLM               Document 1-3          Filed 02/14/25                          PageID.39       Page 24
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                             Exhibit C
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                             Exhibit D
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                                   of 52




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       Case 3:25-cv-00339-MMA-BLM                           Document 1-3 Filed 02/14/25                          PageID.45         Page 30
5/2/24, 7:11AM
        7:11 AM                                                     of 52 Dirty Dozen II Sunnyvale,
                                                                 Recycling's             Sunnyvale, CA




 Recycling's Dirty Dozen
 Get our at-a-glance guide to the Nice Nine and Dirty Dozen

 The Dirty Dozen are 12 types of items that can mislead anyone trying to be a conscientious recycler. They seem
                                           markets-and many contaminate the recycling process.
 recyclable, but are unwanted by recycling markets—and

 In fact, only certain kinds of plastic and paper are easily recyclable, and the market determines much of what can
 be recycled. The majority of the world's recyclables used to be sent to international markets. Those markets
 recently increased restrictions on imported recyclables. Now, the remaining markets for those materials have
 grown more competitive. They expect higher quality materials, free of contaminants.

 The better we do at getting only the right types of materials to market, the easier it will be to continue selling our
 recyclables. The City's recycling revenue offsets costs and can help to moderate garbage rates.

 Each of the Dirty Dozen has a story about why it shouldn't be placed in your recycling cart. Most of these items
 should go in your trash, unless an alternative is noted. Here's the scoop:


   N
   RECYCLABLE                 REASON
   ITEMS
    .. ...                        . _ __
                              Clamshells and similar items used to hold takeout food or produce like berries or lettuce don't melt
                              down at the same temperature as other plastics in the recycling process. Although clamshells are
       —.—      _ _
       .i...r -_ _ --...      made from the same PETE (#1) virgin plastic resin as soda and water bottles, they are manufactured
                              using a "thermoform" process that gives them a more brittle, rigid form.
                                                                                                 form. Clamshells are also
                              contaminated with labels attached with strong adhesives. Taken together, the labels, adhesives and
        Clamshells
                              thermoform characteristics make clamshells undesirable to plastics remanufacturers.




 11lp
                              There is no market demand for black plastic. Why? (1) Black microwave trays,
                                                                                                    trays, like clear clamshells,
                                                                                                                      clamshells,
                              don't melt well with other plastics in recycling plants; (2) Black plastic is often contaminated by food
                              residues; (3) Optical sorters used in many recycling plants cannot "see" black items, so they cannot
                              be easily sorted; and (4) Because they contain black pigment, black plastics can only be made into
       Black Plastic
                              black items. Recycling firms prefer clear plastic, which can be dyed many different colors.




https://www.sunnyvale.ca.gov/homes-streets-and-property/recycling-and-garbage/how-to-get-rid-of-anything/recycling-s-dirty-dozen             1/4
        Case 3:25-cv-00339-MMA-BLM                                 Document 1-3 Filed 02/14/25                    PageID.46         Page 31
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                 )               ----   There is no market for plastic bags and packaging wrappers (such as those around toilet paper or
                                        paper towels) from households because so much of the material is contaminated with moisture,
                                        food, paper receipts, etc. Plastic bags and packaging also wrap around machinery shafts and clog
                                        equipment at the SMaRT Station O. This causes costly shutdowns while maintenance staff cut the
                                                               Station®.
                                        plastic off the equipment and send it to the landfill.
       Plastic Wrap &
               Bags
                                        Alternative: Some grocery stores will take plastic bags for recycling.
                                                                                                    recycling . Search How to Get Rid of
                                                                                                                                      of
                                        Anything
                                        AnY.thing for locations.

                                        Whether made of clear or foam plastic or molded paper, egg cartons cannot be recycled in our area.
                                        There is no market demand for clear or foam plastic cartons. Because of the risk of spreading bird flu
    Al*         '
                                        from chicken eggs to the carton, Asian markets (beyond China) no longer accept paper cartons.


         Egg Cartons                    Alternative: If you know someone who raises chickens, give them your cartons for reuse. If you
                                        compost in your backyard, add paper egg cartons—they
                                                                                cartons-they will break down in aa well-managed pile.



                                        Paper cups (hot cups) for coffee or tea have aa waterproof barrier that prevents them from breaking
     ----,-.------,- il.--
    1       -                           down at aa paper recycling mill (see "Frozen Food Boxes"). There is little recycling market demand for
    i.. ;----
                                        plastic cups for iced tea and other cold drinks because they don't melt down well with other plastics.
                                        Likewise, the lids and straws from
                                                                      from hot or cold cups also are not recyclable.
                                                                                                         recyclable.
     Hot & Cold Cups
         _ -_.-
      ,.. -----                  ``     Frozen food boxes can't be processed with other paper pulp at the mill because they are designed not
                                        to break down when wet.
   Frozen Food Boxes

                                        Whether made from paper, plastic or foam, lack of market demand for these materials, along with
                                        contamination from food and liquids, are reasons why takeout containers should be placed directly in
                                        the garbage. Takeout cups, lids and straws also cannot be recycled.
                                                                                                  recycled .
   Takeout Containers

                                        Alternative: If there is food in the containers, be sure to empty it into aa food scraps collection
                                        container.


    :4 0110.PB---                       Padded envelopes usually have aa glued lining of plastic bubbles, which makes them unsuitable for
                                        making new paper products.
   Padded Envelopes




https://www.sunnyvale.ca.gov/homes-streets-and-property/recycling-and-garbage/how-to-get-rid-of-anything/recycling-s-dirty-dozen                 2/4
         Case 3:25-cv-00339-MMA-BLM                                     Document 1-3 Filed 02/14/25                     PageID.47           Page 32
        7:11 AM
5/2/24, 7:11                                                                   of 52 Dirty Dozen II Sunnyvale,
                                                                            Recycling's             Sunnyvale , CA




                                              Empty liquids and food from recyclable containers before recycling them. Food left in containers
         ,-        V                ___.)
                                        )     contaminates other recyclables.
                                                                 recyclables . Placing aa liquid-filled plastic bottle in your recycling will prevent it

    I                                         from being recycled.
                                                         recycled . Bottles are mechanically sorted from other materials by density. Plastic bottles
    f
         Food & Liquids                       containing liquid get sent to the glass sorting line. It causes costly delays to pull them out, empty
                                              them and place them with other plastics, so these bottles get discarded.


                                              Alternative: Be sure to empty food from
                                                                                 from all containers into a food scraps collection container.

                    -t,                       Items made from plastic foam, such as "styrofoam" packing peanuts, meat trays and other packaging




  ilo
                                              materials, are mostly made of air. They contain so little plastic that recyclers find it's not worth the
                                              expense of hauling and processing to recycle these items. That's why there is no market for them.
         .!,

                                              Read the Sunnyvale ordinance banning
                                                                           bannin g foam plastic
                                                                                         Rlastic food
                                                                                                 fo od and beverage containers
                 Foam

                                              Alternative: Bring clean packing peanuts to your local shipping store for reuse.



                                              Different types of glass are made using different chemical recipes of sand, soda ash and additives.
                                     .,---:   Factories in our area, while capable of recycling glass bottles and jars, cannot recycle other types of
                                              glass, such as drinking glasses, cookware, window panes and light bulbs. Ceramics are stone, not
                                              glass, and contaminate the recycling process.
           Ceramics &
               Glassware

                           ..._
                 PR.C., FAN r
                                              Even a small amount of leftover propane or butane creates a serious risk of explosion, fire and injury
                                ,
                                              to waste collection and recycling workers.
                                                                                workers . If the cylinders slip past quality control checkpoints at the
                                              recycling facility, they can explode when compressed in bales of metal.


                                              Alternative: Bring these items to a hazardous waste event. Visit the Santa Clara County Household
        Propane, Butane
                                              Hazardous
                                              Hazardous Waste program
                                                              wogram to learn more.
               Cylinders


Oth er Dirty Players and Problem
Other                    Problemss
Diapers, greasy pizza boxes, household batteries, shoes and textiles are other offenders that should not go in the
recycling cart. For more information on how to dispose of specific items, search How
                                                                                 Ho, to Get Rid of Anyj;hing.
                                                                                                   Anything.

Read our Garbage
         Ga rbage and Recycling Guide



https://www.sunnyvale .ca.gov/h omes-streets-and-property/recycling-and -garbage/how-to-get-rid-of-anything/recycling-s-dirty-dozen
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Case 3:25-cv-00339-MMA-BLM   Document 1-3   Filed 02/14/25   PageID.49   Page 34
                                   of 52




                             Exhibit F
       Case 3:25-cv-00339-MMA-BLM                             Document 1-3                              Filed 02/14/25     PageID.50      Page 35
 5/7/24, 8:46 AM                                                    of 52
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                      Partnerships For
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                     Packaging With El
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           At Direct Pack, we thrive on building long-lasting partnerships with
                                                                           with
           our customers to develop packaging that fits their needs. When it was
           time for El Polio
                       Pollo Loco to transition away from Styrofoam, we worked
           closely with our long-term partner to develop a range of packaging
           that was more suitable for their famous fire-grilled chicken.

           Together with El Polio
                            Pollo Loco, we innovated a more sturdy container
           partially made of recycled materials. These new containers are more
           sturdy and keep the food hotter, improving the overall eating
           experience.

           We are proud of what our teams have achieved together. These new
           containers will remove 1.9
                                  7.9 million cubic feet of Styrofoam -— the
           equivalent of 21
                         27 Olympic-size swimming pools
                                                  poo!s -— from the national



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                                                            Partnerships for more sustainable packaging with El Polio

                                                   Pollo Loco lids can be recycled
           waste stream annually, and all clear El Polio
           just like PET bottles.
                         bottles.,


           Read more about this launch in these articles:


             I     Eco-Friendly Thermo-To-Go Packaging                              I
                               Styrofoam
                   Eliminating Styrffoam_1




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                                   of 52




                             Exhibit G
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                                  Recycling And
                                  Sustainability

           WE BELIEVE IN
                      IN RECYCLING
           Research shows that post-consumer recycled PET (rPET) is more
           sustainable than both compostable packaging materials and virgin
           PET. We have been using recycled bottles in our manufacturing since
           2008, and are now actively pursuing even more recycled
           thermoformed PET in our products.

           In the beginning of 2020, we acquired our own recycling and
                      facility, Direct Pack Recycling .(read
           reclaiming facility,                       (read more).
                                                             more).. With capacity to
           recycle 20,000 tons of PET plastic, it allows us to move closer to a full
           circle manufacturing process. We've built personal relationships with
           North American MRFs (material recovery facilities) to source bales of
           post-consumer recycled PET bottles and mixed PET thermoformed
           containers.




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           We
           We are                 closely with aa number
                  already working closely
              are already                         number of customers on
                                                         of customers on
           recovering their
           recovering their used PET packaging
                            used PET           and including
                                     packaging and  including it  (along with other
                                                               it (along      other
                         in the production
           thermoforms) in      production of their new
                                           of their new containers.

           As consumers are already putting
                        are already                           in the recycling
                                    putting these containers in      recycling bin,
                                                                               bin,
                         opportunity to close the loop
           it's aa great opportunity
           it's                                        and avoid
                                                  loop and       using new
                                                           avoid using new material.
                                                                           material.
           Our customers' PET packaging is
                          PET packaging  is not          but aa valuable infinite
                                            not garbage, but              infinite
           resource.
           resource.




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https://www.directpackinc.com/recycling-and-sustainability/                                                                                    2/5
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       Case 3:25-cv-00339-MMA-BLM                              Document 1-3             Filed 02/14/25              PageID.60   Page 45
                                                                     of 52
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5/7/24, 8:48 AM                                                  Recycling and Sustainability - A
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            #1
            #1 PET IS THE MOST RECYCLED
            PLASTIC IN THE WORLD
           All kinds of #1
                        #7 PET packaging can be recycled just like PET soda and
           water bottles. We created a video to explain the process --watch
                                                                      watch it
           here! We need your help to make sure even more PET packaging and
            bottles are recycled.

           Please recycle your BOTTLEBOX®,
                               BOTTLE BOX®, as well as other PET food packaging
           and bottles*, so we can keep them in the loop and turn them into new
           products.
           products.

           *Note about recycling
                       recycling of black containers: Unfortunately,
                                                      Unfortunately, black bases are not recognized by optical

           sorters in the recycling
                          recycling facilities,
                                    facilities, and thus not recovered.
                                                             recovered. If
                                                                        Ifyou
                                                                          you want to be sure you
                                                                                              you can recycle

           your container, please use clear or any other color than black.
                                                                    black.




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       Case 3:25-cv-00339-MMA-BLM                             Document 1-3           Filed 02/14/25                 PageID.61        Page 46
                                                                    of 52
5/7/24 , 8:48 AM
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           LABELS
           Paper labels can negatively impact the recyclability of an otherwise perfectly
           using wash-away BOPP labels, which easily and fully separate from the packE
                                                                                 packc
           100% recyclable.




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       Case 3:25-cv-00339-MMA-BLM                                 Document 1-3            Filed 02/14/25                 PageID.62   Page 47
                                                                        of 52
5/7/24, 8:48 AM                                                     Recycling     Sustainability - A
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Case 3:25-cv-00339-MMA-BLM   Document 1-3   Filed 02/14/25   PageID.63   Page 48
                                   of 52




                             Exhibit H
      Case 3:25-cv-00339-MMA-BLM                                          Document 1-3           Filed 02/14/25                   PageID.64   Page 49
5/10/24, 11:53
         11 :53 AM
                AM
                                                                                of 52
                                                                                              Contaminants




                                             Storm Recovery
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                  Department of Public Works

         Unacceptable Items & Contaminants
         Not everything belongs in your blue bin. Tossing items like plastic bags and clothing in the bin hoping they will be recycled is
         called "wish-cycling". Placing these unacceptable materials in the blue bin can damage equipment at the recycling facility
         and pose a danger to workers. Common items to never place in the blue bin include plastic bags (left), !anglers
                                                                                                                   tanglers like hoses,
         chains, cords,
                 cords, clothing and hangers (middle) and plastic shipping materials (right).




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https://www.sandiegocounty.gov/content/sdc/dpw/recycling/Contaminants.html                                                                              1/4
       Case 3:25-cv-00339-MMA-BLM                                 Document 1-3 Filed 02/14/25                            PageID.65   Page 50
          11:53AM
5/10/24, 11:53
5/10/24,       AM
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                                                                                                                                               2/4
      Case 3:25-cv-00339-MMA-BLM                                  Document 1-3                  Filed 02/14/25                PageID.66   Page 51
                                                                        of 52
5/10/24, 11:53
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         Though they can't be recycled in your blue bin, many of the items below can be taken to other facilities. For donation,
         recycling and proper disposal options, please visit WasteFreeSD.org.

              Bagged recyclables
                     oo Only exception is shredded paper - place in a large, clear bag and tie closed
              Plastic bags, plastic film, and plastic shipping materials
                     oo While these CANNOT be placed in your blue bin, they CAN be returned to retailers for recycling.
                                                                                                              recycl ing. Visit
                        PlasticFilmRecycling.org for more info.
                     oo Tip! Shipping materials made of paper, like cardboard boxes (flattened), packing paper and mailing envelopes
                        CAN be placed in your blue bin.
              "Tanglers"
              "Tangiers"
                                chains, cords, tarps,
                   •o Hoses, chains,            tarps , hangers and tubing
            • Clothes, textiles and hangers (donate)
            • Hazardous materials
                    oo Batteries, light bulbs, propane tanks, needles/sharps
            • Electronic waste
                  o Computers, keyboards, cables, phones, etc.
            • Diapers and pet waste (place in the trash) trash)
            • Organics
                  oo Untreated wood and yard waste can be placed in your green waste bin and food waste can be composted
              Scrap metal



        Resources




https://www.sandiegocounty.gov/content/sdc/dpw/recycling/Contaminants.html                                                                          3/4
       Case 3:25-cv-00339-MMA-BLM                          Document 1-3              Filed 02/14/25            PageID.67   Page 52
                                                                 of 52
         11 :53 AM
5/10/24, 11:53                                                                    Contaminants




        Recycle Right! Newsletter
        Recycle Right! Home Page
        Recycling Home Page
        Recycling Guides
        Composting




                     Have a recycling question? Email Recycle@sdcounty.ca.gov or Call the Recycling Hotline:




                             1-877-R-1-EARTH)




https://www.sandiegocounty.gov/content/sdc/dpw/recycling/Contaminants.html                                                           4/4
